IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE

UNITED STATES OF AMERICA

Vv. Case No. 3:14-CR-132-001

JUDGE JORDAN
VIRGIL KEATON

AGREED ORDER OF REVOCATION

A Petition for Revocation of Supervised Release has been filed against the
defendant, Virgil Keaton, and the defendant admits that he has violated his supervised
release. An agreement has been reached between the parties, recommending that Mr.
Keaton’s supervised release should be revoked and that he should receive a sentence
of fourteen (14) months imprisonment with no-supervised release to follow. - ~.

Mr. Keaton agrees to waive his right to a hearing pursuant to Rule 32 of the
Rules of Criminal Procedure, waive his right to allocute at a revocation hearing, and
asks that the agreement of the defendant and the government pursuant to Rule 11 of
the Federal Rules of Criminal Procedure be found to be a proper sentence.

This Court has considered the Chapter Seven policy statements in the United
States Sentencing Guidelines. The defendant's criminal history category is III. The
advisory guideline range is 8-14 months for “Grade B” violations which the Court has
carefully considered. There is a statutory maximum of 24 months imprisonment which
the Court has also considered. The Court has also considered the factors listed in 18
U.S.C. §3553(a).

Based on the foregoing, the Court finds that the recommended sentence is

Case 3:14-cr-00132-RLJ-HBG Document 66 Filed 11/09/21 Page1lof2 PagelD #: 253
sufficient, but not greater than necessary, to accomplish the purposes set forth in 18
U.S.C. §3553(a) while taking into consideration all of those factors and the Chapter
Seven policy statements.

IT IS HEREBY ORDERED, therefore, that the defendant's supervised release is

hereby revoked. The defendant is hereby sentenced to a term of imprisonment of

fourteen (14) months to be followed by no supervised release.

ENTER ed q4 day of

2021:

  

Honorable Leon
United States District Judge

APPROVED FOR ENTRY:

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Attorney for Defendant

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Virgil Keaton
Defendant .

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Case 3:14-cr-00132-RLJ-HBG Document 66 Filed 11/09/21 Page 2of2 PagelD #: 254
